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 Attorneys for Defendant Facebook, Inc.


                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                      CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                    FACEBOOK, INC.’S NOTICE OF FILING
                                                    OF UNREDACTED DOCUMENTS
This document relates to:

ALL ACTIONS




                     FACEBOOK’S NOTICE OF LODGING OF UNREDACTED DOCUMENTS
                                   CASE NO. 3:18-MD-02843-VC
        Case 3:18-md-02843-VC Document 1087 Filed 12/12/22 Page 2 of 3




       Per the Court’s December 6, 2022 Order (Dkt. 1082), Defendant Facebook, Inc.

(“Facebook”) hereby files unredacted versions of the documents listed below that were first filed

under seal by the Plaintiffs as part of an Administrative Motion to Consider Whether Another

Party’s Material Should Be Sealed, and which Facebook did not subsequently seek to seal

permanently.

   •   Loeser and Weaver Declaration ISO Plaintiffs’ Motion for Sanctions;

   •   Plaintiffs’ Exhibits 2–15, 20–22, 24, 28–30, 35–50, 52–54, 56–59, and 62;

   •   Loeser and Weaver Declaration ISO Plaintiffs’ Reply ISO Motion for Sanctions;

   •   Plaintiffs’ Reply Exhibits 71–73.

   •   Laufenberg and Melamed Declaration ISO Plaintiffs’ Supplemental Brief ISO Motion for
       Sanctions;

   •   Ko Declaration ISO Plaintiffs’ Supplemental Brief ISO Motion for Sanctions;

   •   Plaintiffs’ Supplemental Exhibits 89, 100–01, 107–08, 110–11, 113, 116, 118, 120, 126–
       28, 136 or 138;

   •   Special Master’s Amended Order on Plaintiffs’ Motion for Additional Time to Conduct
       Rule 30(b)(6) Depositions, and Exhibits A, B, D, and E thereto;

   •   Special Master’s Order on Plaintiffs’ Motion for Permission to Serve 30(b)(6) Notice on
       Facebook Regarding FTC Complaints and Consent Orders, and exhibits A–D thereto;

   •   Special Master’s Second Amended Order on Plaintiffs’ Motion to Compel Additional
       Production of Quips, Tasks, and Groups, and Exhibits C, D, E, F, H, and I thereto.




                     FACEBOOK’S NOTICE OF LODGING OF UNREDACTED DOCUMENTS
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